
644 S.E.2d 2 (2007)
BIO-MEDICAL
v.
NCDHHS.
No. 549A06.
Supreme Court of North Carolina.
March 8, 2007.
Lee M. Whitman, Raleigh, Sarah M. Johnson, Winston-Salem, for Bio-Medical Applications.
Thomas R. West, Pamela A. Scott, William R. Shenton, Raleigh, Chad W. Essick, for Total Renal Care.
S. Todd Hemphill, Diana E. Ricketts, Raleigh, for Health Systems Management.
Susan K. Hackney, Amy Gray, Assistant Attorney Generals, for NCDHHS.
The following order has been entered on the motion filed on the 5th day of February 2007 by Plaintiff for Leave to File Surreply to Appellees' Joint Reply to Plaintiff Appellant's Response to Motions to:
"Motion Allowed by order of the Court in conference this the 8th day of March 2007."
